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UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF RHODE ISLAND

JOSEPH VARS, et al.
Plaintiffs,

v. C.A. No. 04-52T

LAURA CITRIN, et al.
Defendants.
ORDER GRANTING PLAINTIFFS' MOTION TO VACATE ORDER GRANTING
DEFENDANTS' MOTION FOR SUMMARY JUDGMENT

The Plaintiffs' Motion to Vacate Order Granting Defendants'
Motion for Summary Judgment is hereby granted. The Court's August
16, 2005 Order Granting Defendants' Motion for Summary Judgment is
hereby vacated. Plaintiffs may have until the close Of business
hours on Monday, September 12, 2005 to file their response to

Defendants' Motion for Summary Judgment.

IT IS SO ORDERED,

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Ernest C. Torres, Chief Judge
Date: September \ , 2005

